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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ANURAG GUPTA, and ALEEA GUPTA

          Plaintiffs,                                    Case No. 16-cv-02197

v.                                                       Honorable Jorge L. Alonso

RANJAN GUPTA and ANGELA GUPTA,

          Defendants.



                         PLAINTIFFS’ MOTION TO COMPEL
                 DEFENDANT ANGELA GUPTA’S DISCOVERY RESPONSES

          Plaintiffs, Anurag Gupta and Aleea Gupta (together “Plaintiffs”), by and through their

undersigned counsel, state as follows as their Motion to Compel Defendant Angela Gupta’s

Discovery Responses (the “Motion”):

          1.      On June 8, 2016, Plaintiff served discovery on Defendant Angela Gupta (“Ms.

Gupta”), comprised of both Requests for Production and Interrogatories. See Ex. A, attached

hereto.

          2.      On July 7, 2016, one of Ms. Gupta’s lawyers asked for an extension until July 25

to respond to that discovery, which Plaintiffs granted. At the same time, Plaintiffs asked for

dates for Ms. Gupta’s deposition. See Ex. B, attached hereto.

          3.      Having heard no response, Plaintiffs attempted to negotiate a date by which they

would have responses, and followed up on July 26 and July 28. See Ex. C, attached hereto. Ms.

Gupta’s counsel indicated he would follow up on a response on July 28. Id.

          4.      Plaintiffs again sought those discovery responses on August 1. See Ex. D,

attached hereto.
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        5.      The parties continued to engage in settlement discussions but, again on August 4,

Plaintiffs asked that the long overdue discovery responses be provided by August 5. See Ex. E,

attached hereto (“In the meantime, can you confirm we’ll have your client’s discovery responses

by tomorrow? I’m hoping we can work something out, but I can’t stand still in the interim.”).1

        6.      On August 10, Ms. Gupta’s counsel indicated the discovery was overdue but did

not commit to a date to respond to discovery. See Ex. F, attached hereto (“I know our discovery

is overdue but I’d hate to have my client spend money on discovery when that money can be

better served paying the debt back.”).

        7.      On August 23, Plaintiffs had still received no discovery responses. On that date,

Plaintiffs communicated the need to file this Motion based on that lack of response. See Ex. G,

attached hereto.

        8.      While the parties continue to engage in productive settlement discussions, the

current close of fact discovery, pursuant to this Court’s July 7, 2016 Order, is September 6, 2016.

[Dkt. # 26]

        9.      As of today, Ms. Gupta’s responses are more than 50 days overdue and she has

not provided her availability for her deposition.

        10.     Plaintiffs will be prejudiced in their ability to prove their causes of action without

Ms. Gupta fulfilling her obligations, under the Federal Rules of Civil Procedure, to both respond

to Plaintiffs’ discovery and sit for her deposition as a party to this action.

        11.     Plaintiffs many attempts at conferring and reaching a mutually agreeable

approach on the responses have been unsuccessful.




1
 Plaintiffs have redacted the portions of the exhibits with specific details of settlement proposals
so as to protect the confidentiality of those proposals.
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       12.     Concurrent with this Motion, Plaintiffs’ have filed their Motion to Extend

Discovery so that they may have adequate time to review Ms. Gupta’s discovery responses and

take her deposition. [Dkt. # 27]

       WHEREFORE, Plaintiffs, Anurag Gupta and Aleea Gupta, by and through their

undersigned counsel, respectfully asks this Court enter an Order compelling Defendant Angela

Gupta to (a) respond to Plaintiffs’ June 8, 2016 discovery requests, including document

production, on or before September 9, 2016; (b) attend her deposition on or before September 30,

2016; and (c) for all such further relief as may be appropriate.



Dated: September 1, 2016                      RESPECTFULLY SUBMITTED,

                                              By: /s/ Ethan E. White
                                                 Ethan E. White
                                                 John P. Killacky
                                                 Michael I. Leonard
                                                 LEONARDMEYER LLP
                                                 120 North LaSalle, Suite 2000
                                                 Chicago, Illinois 60602
                                                 (312) 380-6634 (direct)
                                                 ewhite@leonardmeyerllp.com
                                                 jkillacky@leonardmeyerllp.com
                                                 mleonard@leonardmeyerllp.com
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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that on September 1, 2016, a true and correct copy of the

foregoing Motion to Compel Defendant Angela Gupta’s Discovery Responses was electronically

filed with the Clerk of the Court of the United States District Court for the Northern District of

Illinois using the Court’s CM/ECF system, sending notice of electronic filing to all counsel of

record.


                                               By: /s/ Ethan E. White
                                                  Ethan E. White
                                                  LEONARDMEYER LLP
                                                  120 North LaSalle, Suite 2000
                                                  Chicago, Illinois 60602
                                                  (312) 380-6634 (direct)
                                                  ewhite@leonardmeyerllp.com
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                        Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANURAG GUPTA, and ALEEA GUPTA

        Plaintiffs,                                     Case No. 16-cv-02197

v.                                                      Honorable Jorge L. Alonso

RANJAN GUPTA and ANGELA GUPTA,

        Defendants.



                                 CERTIFICATE OF SERVICE
TO:     Daniel W. Tarpey
        Kevin T Mocogni
        225 W. Wacker Drive, Suite 1515
        Chicago, IL 60606
        (312) 948-9090
        dtarpey@tarpeywix.com
        kmocogni@tarpeywix.com


        I, Ethan E. White, an attorney, certify that before 5:00 p.m. on June 8, 2016, I caused a

copy of the following to be served upon the above named attorneys via U.S. Mail and electronic

mail: Plaintiffs’ First Request For Production Of Documents To Defendant Angela Gupta and

Plaintiffs’ First Set Of Interrogatories To Defendant Angela Gupta.



Dated: June 8, 2016                           RESPECTFULLY SUBMITTED,

                                              By: /s/ Ethan E. White
                                                 Ethan E. White
                                                 John P. Killacky
                                                 Michael I. Leonard
                                                 LEONARDMEYER LLP
                                                 120 North LaSalle, Suite 2000
                                                 Chicago, Illinois 60602
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                                     (312) 380-6634 (direct)
                                     ewhite@leonardmeyerllp.com
                                     jkillacky@leonardmeyerllp.com
                                     mleonard@leonardmeyerllp.com
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANURAG GUPTA, and ALEEA GUPTA

        Plaintiffs,                                     Case No. 16-cv-02197

v.                                                      Honorable Jorge L. Alonso

RANJAN GUPTA and ANGELA GUPTA,

        Defendants.



                           PLAINTIFFS’ FIRST SET OF
                 INTERROGATORIES TO DEFENDANT ANGELA GUPTA

        Plaintiffs, Anurag and Aleea Gupta, by and through their undersigned counsel, pursuant

to the Federal Rules of Civil Procedure, submits the following Interrogatories to be answered by

the Defendant Angela Gupta within thirty (30) days of the date of service of this document.

                         DEFINITIONS AND INSTRUCTIONS

        A.      The Definitions set forth in Plaintiffs’ First Request for Production of Documents

 to Defendant Angela Gupta are hereby incorporated by reference as if fully set forth herein.

        B.      Each Interrogatory shall be accorded a separate answer.

        C.      If you refuse to answer any Interrogatory in whole or in part, describe the basis of

 your refusal to answer or respond, including any claim of privilege, in sufficient detail so as to

 permit the Court to adjudicate the validity of your refusal, and identify each statement,

 communication or document for which a privilege is claimed, specifying: (a) with respect to

 communications or statements, (i) the date of the communications or statements; (ii) the names

 of persons present; (iii) subject matter; and (iv) the basis on which the privilege or protection is

 claimed; (b) with respect to documents, (i) the date of the document; (ii) identification by name
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and job title of each person who wrote, drafted, or assisted in the preparation of the document;

(iii) identification by name and job title of each person who received or has custody of the

document or copies thereof; (iv) identification by name and job title of each person who has

reviewed or had access to the document or copies thereof or to whom any portion of the

contents has been communicated; and (v) a brief description of the nature and subject matter of

the document.

      D.      Whenever in these Interrogatories there is a request to “identify” a person, state:

(i) the person's full name; (ii) his or her present or last known residence and business address;

(iii) his or her present or last known residence and business telephone number; and (iv) his or

her present or last known business title or position.

      E.      If you object to a portion of any Interrogatory, you are instructed to answer the

remainder.

      F.      All relevant portions of the Federal Rules of Civil Procedure are incorporated

herein by reference.

      G.      This discovery shall be deemed to be continuing and shall require that you serve

and/or produce, in the form of supplementary responses, any information, documents and/or

tangible things requested herein which are unavailable to you or of which you are unaware, at

the time you submit your responses, but which become available to you, or of which you

become aware, up to and including the time of trial.         Similarly, any responses to these

Interrogatories which are later found to be incorrect or incomplete or to have become incorrect

or incomplete because of changed circumstances shall be corrected or completed by means of

supplementary responses.
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                                    INTERROGATORIES

       1.     Please identify every person who assisted in responding to these Interrogatories
including complete name, address and telephone number.

RESPONSE:

        2.      Identify (providing full name, business and residential address, business and
residential/cell phone number, and e-mail addresses) all persons who possess knowledge of the
allegations set forth in Plaintiffs’ currently pending Complaint in this action, and, with respect to
each such person, provide a brief summary of his/her knowledge. Identify all documents
supporting or relating to each such person’s knowledge.

RESPONSE:

       3.    Identify each and every bank account (including bank name, bank address,
account number, and name(s) on account) into which the funds (as identified in the currently
pending Complaint) received from Plaintiffs, or either of them, were deposited.

RESPONSE:

       4.      Identify the date and dollar amount for every dollar received from Plaintiffs to
you or Defendant Ranjan Gupta, from January 1, 2013 to present. For each, respond whether
those dollars were received pursuant to any written or oral agreement and identify such
agreement.

RESPONSE:

       5.     Identify your usage of any funds you received from Plaintiffs, from January 1,
2013 to present, including but not limited to the date and amount of the expenditure and the
payee.

RESPONSE:

      6.      Identify (providing full name; residential and business address; phone number(s);
and email addresses) each and every person who possesses knowledge, in whole or part, of
Defendants’ defenses to Plaintiff’s allegations in his Complaint in this action. Identify all
documents supporting or relating to such knowledge.

RESPONSE:

        7.     Other than the present case, have you ever been a plaintiff/complainant or
defendant/respondent in a charge, claim and/or lawsuit in any federal, state and/or local court or
agency? If so, state the court/tribunal/agency name and location in which the claim was filed,
the caption and case number (or charge or claim number), a description of the nature of the
charge, lawsuit or claim, and a description of the resolution of the charge, lawsuit or claim.
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RESPONSE:

       8.      State the names, addresses and telephone numbers of all persons plaintiff may call
as witnesses at the trial of this case and identify all documents supporting or relating to each such
person’s knowledge.

RESPONSE:

       9.      State and explain all facts, circumstances and opinions and identify all documents,
on which you base your allegation in your Third Affirmative Defense that Plaintiffs’ “unclean
hands bar all or part of their claim.”

RESPONSE:

       10.       State and explain all facts, circumstances and opinions and identify all documents,
on which you base your allegation in your Fourth Affirmative Defense that Plaintiffs “fail[ed] to
mitigate its [sic] damages.”

RESPONSE:

        11.    State and explain all facts, circumstances and opinions and identify all documents,
on which you base your allegation in your Seventh Affirmative Defense that Angela Gupta “is
not a proper party Defendant.”

RESPONSE:

      12.     Identify the cellphone carrier and cellphone number used by you to send any text
messages to Defendant Ranjan Gupta or either Plaintiff from January 1, 2013 to present.

RESPONSE:

       13.     Identify the Facebook account used by you to send any messages or post any
information relating to either Plaintiff from January 1, 2013 to present.

RESPONSE:

       14.    Identify each and every email account used by you to send any messages or post
any information relating to either Plaintiff from January 1, 2013 to present.

RESPONSE:

        15.    Identify any and all documents in your possession, custody, or control, and which
related to monies received from Plaintiffs, or either of them, from January 1, 2013 to present.

RESPONSE:
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        16.    Identify and describe all communications (oral and written) you had with Ranjan
Gupta, related to monies received from either Plaintiff, from November 1, 2013 to and including
the date you sign these interrogatory answers, and include in your answer the date of the
communication(s), whether it was written or oral, what was said and by whom, identify any
witnesses to the communication and identify and describe all documents related to the
communication.

RESPONSE:

        17.      Identify and describe all communications (oral and written) you had with either
Plaintiff, related to monies received from either Plaintiff, from January 1, 2013 to and including
the date you sign these interrogatory answers, and include in your answer the date of the
communication(s), whether it was written or oral, what was said and by whom, identify any
witnesses to the communication and identify and describe all documents related to the
communication.

RESPONSE:



Dated: June 7, 2016                          RESPECTFULLY SUBMITTED,

                                             By: /s/ Ethan E. White
                                                Ethan E. White
                                                John P. Killacky
                                                Michael I. Leonard
                                                LEONARDMEYER LLP
                                                120 North LaSalle, Suite 2000
                                                Chicago, Illinois 60602
                                                (312) 380-6634 (direct)
                                                ewhite@leonardmeyerllp.com
                                                jkillacky@leonardmeyerllp.com
                                                mleonard@leonardmeyerllp.com
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANURAG GUPTA, and ALEEA GUPTA

        Plaintiffs,                                    Case No. 16-cv-02197

v.                                                     Honorable Jorge L. Alonso

RANJAN GUPTA and ANGELA GUPTA,

        Defendants.



                     PLAINTIFFS’ FIRST REQUEST FOR
          PRODUCTION OF DOCUMENTS TO DEFENDANT ANGELA GUPTA

        Plaintiffs, Anurag and Aleea Gupta, by and through their undersigned counsel, pursuant

to the Federal Rules of Civil Procedure, submits the following Request for Production to be

answered by the Defendant Angela Gupta within thirty (30) days of the date of service of this

document.

                                          DEFINITIONS

        1.      “And” as well as “or” shall be construed disjunctively or conjunctively as

necessary to bring within the scope of these Interrogatories all responses which might otherwise

be construed to be outside their scope.

        2.      “Each” shall be construed to include the word “every” and “every” shall be

construed to include the word “each”. Similarly, “any” shall be construed to include the word

“all”, and “all” shall be construed to include the word “any”.

        3.      “Documents” shall be construed in the broadest sense permissible under the Civil

Rules of Procedure and means, without limitation: any written, printed, typed, photocopied,

photographed, recorded, or otherwise reproduced or stored communication or representation,
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whether comprised of letters, words, numbers, data, pictures, sounds, or symbols, or any

combination thereof.        This definition includes copies or duplicates of documents

contemporaneously or subsequently created which have any non-conforming notes or other

markings. Without limiting the generality of the foregoing, “documents” includes, but is not

limited to: correspondence, memoranda, notes, records, letters, envelopes, telegrams, messages,

studies, analyses, contracts, agreements, working papers, accounts, ledgers, work sheets,

spreadsheets, cancelled checks, bank statements, proofs, prescriptions, labels, sheets, punch

cards, print-out sheets, appointment books, registers, charts, tables, papers, financial statements,

purchase orders, analytical records, reports and/or summaries of investigations, trade letters,

press releases, comparisons, books, calendars, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, drawings, diagrams, instructions, notes or

minutes of meetings or of other communications of any type, including inter-office and intra-

office communications, electronic mail/messages and/or “e-mail,” electronically stored telephone

messages and/or “voice mail,” questionnaires, surveys, graphs, photographs, phonograph

recordings, films, tapes, disks, data cells, print-outs of information stored or maintained by

electronic data processing, word processing, or other computer equipment, all other data

compilations from which information can be obtained (by translation, if necessary, by you

through detection devices into useable form), including, without limitation, electromagnetically

sensitive storage media such as floppy disks, hard disks and magnetic tapes, and any preliminary

versions, as well as drafts or revisions, of any of the foregoing.

       4.      “Communication” and “communications” are used in a comprehensive sense, and

mean and include every conceivable manner or means of disclosure, transfer or exchange of oral

or written information (in the form of facts, ideas, inquiries, or otherwise) between one or more
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persons or entities, including, but not limited to, writings, documents, interoffice and intra-office

memoranda, correspondence, meetings, conferences, conversations, and/or agreements, whether

face-to-face, by telephone, by mail, by telecopier, by telex, by computer, or otherwise.

       5.      “Relate to,” “related to,” or “relating to” when used in reference to a stated

subject means all of the following:

              (1)     containing, comprising, constituting, stating, setting forth, reporting,
       including, negating, or manifesting in any way, whether in whole or in part, that subject;
       and

                (2)     describing, mentioning, discussing, reflecting, interpreting, identifying,
       concerning, contradicting, referring to, or in any way pertaining to, whether in whole or
       in part, that subject.

                                       INSTRUCTIONS

       1.      The singular of any word includes the plural and the plural includes the singular.

       2.      The requested documents each include all attachments to the specifically

described documents, all envelopes, explanatory notes or memoranda, and any other material

that accompanied the document(s).

       3.      Documents not otherwise responsive to this discovery request shall be produced if

such documents mention, discuss, refer to, or explain the documents which are called for by this

discovery request, or such documents are attached to documents called for by this discovery

request.

       4.      Each document requested herein is requested to be produced in its entirety and

without deletion or excisions, regardless of whether you consider the entire document to be

relevant or responsive to these requests. If you redact any portion of a document, it should stamp

the word “redacted” on each page of the document that has been redacted. Redactions should be

included on the privilege log described below.
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       5.       If you claim that any response or any document that is required to be produced in

response to any of these document requests is privileged or otherwise protected from disclosure,

then you shall produce a privilege log providing the following information with respect to each

such document:

                (1)    identify its title and general subject matter;

                (2)    state its date;

                (3)    identify its author(s);

                (4)    identify the person(s) for whom it was prepared or to whom it was sent;

                (5)    state the nature of the privilege claimed; and

                (6)    state in detail each and every fact upon which the claim of privilege is
       based.

       6.       If at any time possession, custody, or control of any document responsive to these

Requests has been relinquished or any such document has been destroyed, identify each

document as explained in paragraph 10 above and, as to existing documents, identify the person

who has possession, custody, or control of such documents.

                               REQUESTS FOR PRODUCTION

       1.     Each and every communication, in whatever format, between you and Defendant
Ranjan Gupta, and related in any way to any funds received from Plaintiffs, or either of them,
from January 1, 2013 to present.

RESPONSE:

        2.      Each and every communication, in whatever format, between you and either
Plaintiff, and related in any way to any funds received from Plaintiffs, or either of them, from
January 1, 2013 to present.

RESPONSE:

        3.     Each and every communication, in whatever format, between you and any person,
other than your lawyer, and related in any way to any funds received from Plaintiffs, or either of
them, from January 1, 2013 to present.
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RESPONSE:

        4.     Each and every text message, between you and Defendant Ranjan Gupta, and
related in any way to any funds received from Plaintiffs, or either of them, from January 1, 2013
to present.

RESPONSE:

       5.     Each and every text message, between you and either Plaintiff, and related in any
way to any funds received from Plaintiffs, or either of them, from January 1, 2013 to present.

RESPONSE:

       6.      Each and every document, in whatever format, and which you contend supports
your denials of any of the allegations in Plaintiffs’ currently filed Complaint.

RESPONSE:

       7.     Each and every document, in whatever format, and which you contend supports
each of your Affirmative Defenses in this matter.

RESPONSE:

        8.     An electronic copy of your complete Facebook history, including any and all
profile information, postings, pictures, and data available—pursuant to Facebook's "Download
Your Own Information" feature—from January 1, 2013 to present. To use this feature and
complete the download, follow the instructions at
https://www.facebook.com/help/131112897028467/

RESPONSE:

      9.     All bank statements, in whatever format, for any account maintained by you or
Defendant Ranjan Gupta, or the both of your jointly, from January 1, 2013 to present.

RESPONSE:

        10.   A copy of each and every check, in whatever format, sent to Plaintiffs, or either of
them, from January 1, 2013 to present.

RESPONSE:

       11.     Your complete State and Federal tax returns from 2013 to present.

RESPONSE:
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       12.     Each and every non-privileged document, in whatever format, which relates to
your usage of any funds you received from Plaintiffs, from January 1, 2013 to present.

RESPONSE:

       13.     Each and every non-privileged document, including communications with any
person, and in whatever format, which relates to the currently filed Complaint, from February 12,
2016 to present.

RESPONSE:

        14.     Each and every non-privileged document, including communications with any
person, and in whatever format, which relates to the promissory notes you executed and which
are attached to the currently filed Complaint as Exhibits A-D.

RESPONSE:



Dated: June 7, 2016                         RESPECTFULLY SUBMITTED,

                                            By: /s/ Ethan E. White
                                               Ethan E. White
                                               John P. Killacky
                                               Michael I. Leonard
                                               LEONARDMEYER LLP
                                               120 North LaSalle, Suite 2000
                                               Chicago, Illinois 60602
                                               (312) 380-6634 (direct)
                                               ewhite@leonardmeyerllp.com
                                               jkillacky@leonardmeyerllp.com
                                               mleonard@leonardmeyerllp.com
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                         Exhibit B
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